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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,

               Plaintiff,
                                            CASE NO. CR-18-00258-BLW
 vs.

 PAVEL BABICHENKO,                          DEFENDANTS’ MOTION TO COMPEL
 GENNADY BABITCHENKO,                       REGARDING GOVERNMENT’S
 PIOTR BABICHENKO,                          FINANCIAL EXPERT TESTIMONY
 TIMOFEY BABICHENKO,                        (LINDA CZEMERYS)
 KRISTINA BABICHENKO,
 NATALYA BABICHENKO,
 DAVID BIBIKOV,
 ANNA IYERUSALIMENTS,
 MIKHAIL IYERUSALIMETS,
 ARTUR PUPKO,

               Defendants.




  1 • DEFENDANTS’ MOTION TO COMPEL REGARDING GOVERNMENT’S
  FINANCIAL EXPERT TESTIMONY (LINDA CZEMERYS)
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    I.      INTRODUCTION

         Trial by ambush cannot be practiced by the government or permitted by the Court. With

regards to expert witness disclosures, Rule 16 unambiguously requires the government to

provide “a written summary of any testimony that the government intends to use under Rules

702, 703, or 705 of the Federal Rules of Evidence during its case-in-chief at trial.” Fed. R. Crim.

P. 16(a)(1)(G). The summary “must describe the witness’s opinions, the bases and reasons for

those opinions, and the witness’s qualifications.” Id. (Emphasis added.) This includes “not only

written and oral reports, tests, reports, and investigations, but any information that might be

recognized as a legitimate basis for an opinion . . . .” Id., Fed. R. Crim. P. 16, Advisory Comm.

Notes, 1993 Amendment.

         Thus far, the government’s disclosure regarding its financial expert witness Linda

Czemerys wholly fails to satisfy its Rule 16 obligations. Dkt. 342.1 The government’s notice

fails to identify with any specificity the expert opinions it intends to introduce through Ms.

Czemerys. The notice also fails to provide any facts, data, analysis or methods upon which Ms.

Czemerys is making her conclusions. Rather, the government’s notice merely provides vague

and skeletal information, outlining broad conclusions, without identifying the bases and reasons

for her findings. Absent is any expert analysis.

         Based on this failure, the Defendants2, through their attorneys, move for the Court to

compel the government to provide mandated Rule 16 disclosures related to its financial expert


1
  In its notice, the government reserved the right to supplement the notice. Dkt. 342, n.1.
However, to date, despite requests by defense counsel, the government has failed to supplement
its deficient disclosure. See Exhibit A. However, the government has indicated it intends to
clarify its use of the conjunction “whether” on page 3 of its Notice. See Exhibit B.
2
   This Motion to Compel is filed on behalf of Pavel Babichenko, Gennady Babitchenko, Piotr

    2 • DEFENDANTS’ MOTION TO COMPEL REGARDING GOVERNMENT’S
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Linda Czemerys. This motion is based on Fed. R. Crim. P. 16(a)(1)(G) and FRE 401-403, 602,

701-703, 704(b), and 705, the Sixth Amendment and the following memorandum and the

pleadings and papers on file herein.

   II.      BACKGROUND

         Among other charges, the Defendants are charged with conspiracy to launder money in

violation of 18U.S.C. § 1956(h), and with substantive money laundering counts for their

participation in monetary transactions related to their alleged trafficking in counterfeit-goods.

Dkt. 210. The government contends the Defendants funneled funds through various personal

and/or corporate bank accounts, made purchases with proceeds deposited into the accounts, and

conducted financial transactions to conceal the proceeds of specified unlawful activity.

         The government filed notice of its intent to call Linda Czemerys as a financial expert.

Dkt. 342. In a scant four sentences, the government outlined Linda Czemerys expected

testimony3:

                 The United States intends to call Ms. Czemerys to testify about the financial
         investigation in this matter, including her forensic accounting of hundreds of bank
         accounts involved in this conspiracy, as well as the methods of laundering money
         and tax evasion identified in this conspiracy. Additionally, Ms. Czemerys is
         expected to interpret this activity and testify about commonly-identified means of
         money laundering, including structuring the amount of transfers, as well as
         funneling money among businesses, coconspirators, and internationally. Ms.
         Czemerys will provide the jury with helpful background information regarding how
         criminal organizations launder money, including the use of “funnel accounts” to
         move money from one place to another through the banking system. She will opine

Babichenko, Timofey Babichenko, Kristina Babichenko, Natalya Babichenko, David, Bibikov,
Anna Iyerusalimets, and Mikhail Iyerusalimets, recognized collectively as the “Defendants.”
3
  The government’s notice also includes a paragraph about Ms. Czemerys’ background and
qualifications. It concludes by stating: “The bases and reasons for her
opinion depends upon years of experience conducting criminal financial investigations,
specialized knowledge gained as a result of this experience, as well as training and education in
the area of financial investigations.” Dkt. 342, at 2-3.

  3 • DEFENDANTS’ MOTION TO COMPEL REGARDING GOVERNMENT’S
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           on whether the records of the activity in the Defendants’ hundreds of bank accounts
           and tax records during the timeframe for the alleged money laundering conspiracy
           shows evidence of activity that is consistent with persons engaged in illegal activity
           and money laundering.

Dkt. 342, at 3.

           Unlike the government, the Defendants, according to their reciprocal Rule 16 obligations,

and in good faith, provided an extensive, detailed, and comprehensive disclosure of the opinions,

basis for the opinions, factual support for his opinions, and expected testimony of their financial

expert, Eric Lee. Dkts. 401 & 736. In their Supplemental Notice, the defense laid out, in fifteen

pages, a summary of Mr. Lee’s expected testimony, including his opinions and the basis for his

opinions. Dkt. 736. The defense hoped their detailed disclosure would prompt the government to

reciprocate with its mandated Rule 16 obligations regarding its expert, Ms. Czemerys. However,

to date, the government has failed to supplement its disclosure.4 Given the trial date’s

immanency and the necessity for the defense to adequately prepare, further delay in filing this

motion jeopardizes the Defendants’ rights to a fair trial and to confront the government’s

evidence.

    III.      DISCUSSION

           Under Rule 16, “the government must give to the defendant a written summary of any

[expert] testimony that the government intends to use . . . during its case-in-chief at trial.” Fed.

R. Crim. P. 16(a)(1)(G). “The summary provided under this subparagraph must describe the

witness’s opinions, the bases and reasons for those opinions, and the witness’s qualifications.”



4
 The government has indicated that, at some unspecified date, it intends to provide defense
counsel with spreadsheets. Counsel expects the spreadsheets are the government’s anticipated
summary exhibits. Exhibit A.

    4 • DEFENDANTS’ MOTION TO COMPEL REGARDING GOVERNMENT’S
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Id. (emphasis added). “The Rule requires a summary of the expected testimony, not a list of

topics.” United States v. Duvall, 272 F.3d 825, 828 (7th Cir. 2001).

        A sentence-by-sentence examination of the government’s four sentence disclosure makes

clear its obvious deficiency.

        Sentence one: “The United States intends to call Ms. Czemerys to testify about the
        financial investigation in this matter, including her forensic accounting of hundreds
        of bank accounts involved in this conspiracy, as well as the methods of laundering
        money and tax evasion identified in this conspiracy.”

        This sentence mainly provides background. It vaguely describes the materials Ms.

Czemerys reviewed in this case and, generally, methods of money laundering and tax evasion in

the abstract, not necessarily applicable to the facts in this case.5 It provides no specific content

about Ms. Czemerys’ opinions, analysis, or basis of her opinions. It does not articulate the

referred to “methods” of money laundering or tax evasion the government intends to present

through Ms. Czemerys’ testimony or the facts that would support that “method.” The defendants

are left to speculate.

        Moreover, by referring to “tax evasion,” the government subtly infers its intention to

have Ms. Czemerys opine that the defendants committed “tax evasion.”6 Yet absolutely no basis

for this opinion was provided as is required by Rule 16. If Ms. Czemerys concluded tax evasion

took place, how did she come to this conclusion? Where is the analysis? Nowhere has this been

disclosed. Absent disclosure, the government has failed to comply with Rule 16, and adequate

defense preparation is impossible.



5
  In fact, it fails to even identify the bank accounts she reviewed.
6
  A separate issue about the admissibility of evidence of tax evasion, uncharged conduct, may be
raised by the defendants.

    5 • DEFENDANTS’ MOTION TO COMPEL REGARDING GOVERNMENT’S
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       Sentence two: “Additionally, Ms. Czemerys is expected to interpret this activity and
       testify about commonly-identified means of money laundering, including structuring
       the amount of transfers, as well as funneling money among businesses,
       coconspirators, and internationally.”

       Here, the government does disclose Ms. Czemerys’ expected opinion. However, the

disclosure does not explain the basis for her conclusions. How specifically did she arrive at this

conclusion? What facts is she relying on to form the bases for her conclusions? No explanation

is provided about the facts she is relying upon or why those facts constitute “structuring” or

“funneling.” Pursuant to Rule 16 mandates, the defense should not be left to speculate about the

basis for Ms. Czemerys’ opinions. Rule 16 requires more.

       Sentence three: “Ms. Czemerys will provide the jury with helpful background
       information regarding how criminal organizations launder money, including the use
       of “funnel accounts” to move money from one place to another through the banking
       system.”

       Depending on the Court’s ruling on possible evidentiary objections, Ms. Czemerys may

or may not be permitted to testify about unrelated criminal organizations. Regardless, the

government’s disclosure does not identify any facts or provide any analysis of circumstances in

this case which Ms. Czemerys is relying upon to conclude that the Defendants’ activities are

similar to unrelated and unidentified other criminal organizations.

       Sentence four: “She will opine on whether the records of the activity in the
       Defendants’ hundreds of bank accounts and tax records during the timeframe for the
       alleged money laundering conspiracy shows evidence of activity that is consistent with
       persons engaged in illegal activity and money laundering.”

       Here the government does disclose an expansive opinion. What the disclosure fails to

provide are the records Ms. Czemerys is reliant upon. It fails to explain how the bank account

and tax records support Ms. Czemerys conclusion. Any reasons for her opinion are absent. How



  6 • DEFENDANTS’ MOTION TO COMPEL REGARDING GOVERNMENT’S
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do the tax records support her conclusion? Again, the defense is left to guess. This subverts the

purpose of Rule 16 requirements.

         These four sentences are the sum of the government’s notice about Linda Czemerys’

testimony. The notice provides skeletal disclosure of Ms. Czemerys’ specific opinions, no

articulated bases for her opinions, no facts she’s relying on, and no analysis as to how she arrived

at her opinions.

   IV.      CONCLUSION

         The government’s expert notice fails to comply with Rule 16(a)(1)(G). This failure

deprives the defendants the opportunity to prepare and confront the evidence adequately. Based

on the foregoing, the Defendants respectfully request the Court to compel the government to

provide a disclosure consistent with the Rule 16 mandates.

         DATED this 16th day of February 2021.

                                              s/ Barry Flegenheimer
                                              s/ John Defranco
                                              Attorneys for Pavel Babichenko

                                              /s/ Jeffrey Brownson
                                              Attorney for Gennady Babitchenko




  7 • DEFENDANTS’ MOTION TO COMPEL REGARDING GOVERNMENT’S
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of February 2021, I filed the foregoing electronically
through the CM/ECF system, which caused the parties or counsel to be served by electronic means,
as more fully reflected on the Notice of Electronic Filing:

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  8 • DEFENDANTS’ MOTION TO COMPEL REGARDING GOVERNMENT’S
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9 • DEFENDANTS’ MOTION TO COMPEL REGARDING GOVERNMENT’S
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